     Case
      Case2:16-cr-00230-GMN-DJA
           2:16-cr-00230-GMN-CWH Document
                                  Document93  Filed 01/19/17
                                           92 Filed 01/20/17 Page
                                                              Page11ofof44




     FRANK H. COFER III, ESQ.
 1
     Nevada Bar No. 11362
 2   COFER & GELLER, LLC
     601 South Tenth Street
 3   Las Vegas, Nevada 89101
     P: (702) 777-9999
 4   F: (702) 777-9995
 5   Attorney for Defendant Karapetyan

 6                                     UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF NEVADA
 7
     THE UNITED STATES OF AMERICA,                         Case no. 2:16-cr-230-GMN-CWH
8
                          Plaintiff,
 9                                                         DEFENDANT VAGE KARAPETYAN’S
                   vs.                                     UNOPPOSED MOTION AND [PROPOSED]
10                                                         ORDER TO PERMIT DEFENDANT TO
     VAGE KARAPETYAN, et al.,                              TRAVEL TO THE STATE OF CALIFORNIA
11
                                                           FROM 1/20/2017 TO 1/23/2017
                          Defendants.
12
13
14         NOW COMES Defendant VAGE KARAPETYAN, by and through FRANK H. COFER III, ESQ.

15   of COFER & GELLER, LLC, and hereby moves this Honorable Court to temporarily permit

16   Defendant to travel to the State of California during the dates of 1/20/2017 to 1/23/2017 so

17   that he may visit his ailing mother-in-law. This is the defendant’s second request for a

18   temporary relaxation of his terms of pretrial release.

19         This motion is unopposed by the U.S. Attorney’s office and is unopposed by pretrial

20   services, and is made and based on all the papers and pleadings on file herein and the

21   declaration of counsel filed herewith.

22         RESPECTFULLY SUBMITTED this 19th day of January, 2017.

23
                                                           COFER & GELLER, LLC
24
25                                                  By:       /s/ Frank Cofer
                                                           FRANK H. COFER III, ESQ. (NV #11362)
26                                                         Attorney for Defendant Karapetyan
27
28

                                                  1 of 4
      Case
       Case2:16-cr-00230-GMN-DJA
            2:16-cr-00230-GMN-CWH Document
                                   Document93  Filed 01/19/17
                                            92 Filed 01/20/17 Page
                                                               Page22ofof44




 1                                     DECLARATION OF COUNSEL
 2             FRANK H. COFER III, ESQ., makes the following declaration:
 3             1.    I am an attorney licensed to practice law in all state courts in the State of
 4   Nevada, before the United States District Courts in the district of Nevada, and before the
 5   Ninth Circuit Court of Appeals.
 6             2.    I am retained to represent Defendant VAGE KARAPETYAN in the instant action
 7   and am making this declaration in support of DEFENDANT VAGE KARAPETYAN’S UNOPPOSED
8    MOTION AND [PROPOSED] ORDER TO PERMIT DEFENDANT TO TRAVEL TO THE STATE OF
 9   CALIFORNIA FROM 1/20/2017 TO 1/23/2017 that is filed herewith. I have personal knowledge
10   and am competent to testify to the matters stated herein.
11             3.    I am informed and I believe that my client, Defendant VAGE KARAPETYAN,
12   wishes to travel to North Hollywood, California in order to visit his ailing mother-in-law
13   during the dates of 1/20/2017 to 1/23/2017. However, his current conditions of release
14   prohibit him from traveling outside of the State of Nevada.
15             4.    I have communicated with U.S. Pretrial Services employee SAMIRA BARLOW
16   (responsible for supervising the defendant) and AUSA ROBERT KNIEF (responsible for
17   prosecuting this case) regarding this matter. Both of these individuals have indicated that
18   they have no opposition to the instant motion.
19             5.    I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
20   foregoing is true and correct except as to those matters stated herein upon information and
21   belief.
22             EXECUTED on January 19th, 2016 at Las Vegas, Nevada.
23
                                                           COFER & GELLER, LLC
24
25                                                  By:       /s/ Frank Cofer
                                                           FRANK H. COFER III, ESQ. (NV #11362)
26
                                                           Attorney for Defendant Karapetyan
27
28

                                                  2 of 4
     Case
      Case2:16-cr-00230-GMN-DJA
           2:16-cr-00230-GMN-CWH Document
                                  Document93  Filed 01/19/17
                                           92 Filed 01/20/17 Page
                                                              Page33ofof44




 1                                            ORDER
 2         THIS MATTER having come before the Court via an unopposed motion, and good
 3   cause appearing therefor,
 4         IT IS HEREBY ORDERED that the conditions of pretrial release as to Defendant VAGE
 5   KARAPETYAN are temporarily modified in order to permit him to travel to the State of
 6   California during and throughout the following dates only: Friday, January 20, 2017
 7   through Sunday, January 23, 2017.
8                      20th
           DATED this ______  day of January, 2017.
 9
10
11                                     By:
                                             UNITED STATES DISTRICT / MAGISTRATE JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               3 of 4
     Case
      Case2:16-cr-00230-GMN-DJA
           2:16-cr-00230-GMN-CWH Document
                                  Document93  Filed 01/19/17
                                           92 Filed 01/20/17 Page
                                                              Page44ofof44




 1                             CERTIFICATE OF ELECTRONIC SERVICE
 2         I HEREBY CERTIFY that all parties to this action are registered members of the court’s
 3   electronic filing system, and that on Thursday, January 19, 2017, a true and correct copy of
 4   the foregoing document:
 5    DEFENDANT VAGE KARAPETYAN’S UNOPPOSED MOTION AND [PROPOSED] ORDER TO
      PERMIT DEFENDANT TO TRAVEL TO THE STATE OF CALIFORNIA FROM 1/20/2016 TO
 6                                  1/23/2016
 7   was filed with the court’s electronic filing system and that service was accomplished
8    automatically.
 9
10
                                    By:                   /s/ April Burt
11
                                          APRIL B. BURT
12                                        An employee of COFER & GELLER, LLC
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                4 of 4
